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 ForPro Stainless Steel Pedi File Refill, 180 Grit, White, EZ-Strip Peel Pedicure Refill Pads,
 1.25” W x 4” L, 50-Count
 by ForPro




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 ForPro Stainless Steel Pedi File Refill, 80 Grit, Black, EZ-Strip Peel Pedicure Refill Pads,
 1.25” W x 4” L, 50-Count
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 Nail Polish Display Ring
 by ForPro




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